
OPINION ON THE STATE’S MOTION FOR REHEARING
DALLY, Judge.
On original submission this Court granted habeas corpus relief and reversed the judgment of conviction on the ground that it was obtained in violation of the carving doctrine. This Court has now abandoned the carving doctrine in Ex parte McWilliams (No. 64,508, delivered May 12, 1982). We have thus considered the State’s Motion for Rehearing and order the relief denied.
Since we have abandoned the carving doctrine, we will determine the double jeopardy implication of successive prosecutions by applying the offense defining test set forth by the Supreme Court in Blockburger v. United States, 284 U.S. 2991, 52 S.Ct. 180, 76 L.Ed. 306 (1932).
The Blockburger rule will not preclude the multiple convictions here. Robbery by firearms and murder with malice are clearly separate offenses: conviction of each offense requires proof of an additional fact which the other does not. See V.T.C.A. Penal Code, Secs. 29.03 and 19.03.
Since there is no double jeopardy violation in the two convictions herein, the State’s Motion for Rehearing is granted; habeas corpus relief is denied.
It is so ordered.
ONION, P. J., and ROBERTS and TEAG-UE, JJ., dissent,
as they did in Ex parte McWilliams (Tex.Cr.App. No. 64,508, May 12,1982) (Roberts, J., dissenting).
